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                          UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,                Case No
THE STATES OF ALASKA,
CALIFORNIA, COLORADO,                    COMPLAINT FOR VIOLATION OF THE
CONNECTICUT, DELAWARE, THE               FEDERAL FALSE CLAIMS ACT [31 U.S.C.
DISTRICT OF COLUMBIA, FLORIDA,           §3729 etseq.]\ ALASKA MEDICAL
GEORGIA, HAWAII, ILLINOIS,               ASSISTANCE FALSE CLAIMS AND
INDIANA, IOWA, LOUISIANA,                REPORTING ACT [AK Stat § 09.58.010 et
MARYLAND, MASSACHUSETTS,                 seq.]\ CALIFORNIA FALSE CLAIMS ACT
MICHIGAN, MINNESOTA, MONTANA,            [Cal. Govt Code §12650 etseq,]\
NEVADA, NEW JERSEY, NEW MEXICO,          COLORADO MEDICAID FALSE CLAIMS
NEW YORK, NORTH CAROLINA,                ACT [Col Rev. Stat. 25.5-4-303.5 through
OKLAHOMA, RHODE ISLAND,                  25.5-4-310]; CONNECTICUT FALSE
TENNESSEE, TEXAS, VERMONT,               CLAIMS ACT [Conn. Gen. Stat. § 4-274 et
VIRGINIA, AND WASHINGTON, EX.            seq.]\ DELAWARE FALSE CLAIMS AND
REL. OMNI HEALTHCARE, INC.               FALSE REPORTING ACT [6 Del. C. §1201];
                                         THE DISTRICT OF COLUMBIA FALSE
                   Plaintiffs,           CLAIMS ACT [D.C. Code § 2-381.01 et
                                         seq.]', FLORIDA FALSE CLAIMS ACT [Fla.
V.
                                         Stat. Ann. §68.081 etseq.]\ GEORGIA
                                         FALSE MEDICAID CLAIMS ACT [Ga.
MD SPINE SOLUTIONS LLC, D/B/A MD
                                         Code Ann. §49-4-168 etseq.]\ HAWAII
LABS INC. AND DOE HEALTHCARE
                                         FALSE CLAIMS ACT [Haw. Rev. Stat. §661-
PROVIDERS 1-100,
                                         21 etseq.]\ ILLINOIS WHISTLEBLOWER
                                         REWARD AND PROTECTION ACT [740
                   Defendants.           111. Comp. Stat. §175 et. seq."]', INDIANA
                                         FALSE CLAIMS AND WHISTLEBLOWER
                                         PROTECTION ACT [Ind. Code Ann. §5-11-
                                         5.5-1 etseq.\, IOWA FALSE CLAIMS ACT
                                         [I.C.A. § 685.1 etseq.\ LOUISIANA
                                         MEDICAL ASSISTANCE PROGRAMS
                                         INTEGRITY LAW [La. R.S. § 46:437.1 et.
                                         seq]:, MARYLAND FALSE HEALTH
                                         CLAIMS ACT [Md. Health-Gen. Code Ann.
                                         §§2-601 through 2-611];
                                         MASSACHUSETTS FALSE CLAIMS LAW
                                         [Mass. Gen Laws ch.l2 §5 etseq.\,
                                         MICHIGAN MEDICAID FALSE CLAIMS
                                         ACT [Mich. Comp. Laws. §400.601 etseq.\,
                                         MINNESOTA FALSE CLAIMS ACT, [Minn.
                                         Stat. § 15C.01 etseq.]\ MONTANA FALSE
                                         CLAIMS ACT [Mon. Code Anno. § 17-8-401
                                         etseq.]\ NEVADA FALSE CLAIMS ACT
                                         [Nev. Rev. Stat. Ann. §357.010 etseq.]\ NEW
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